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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION

RALANDA WEBB, )
on behalf of plaintiff and )
the class members defined herein, )
)

Plaintiff, )

)

v. )

)

SPRITE ENTERTAINMENT, INC., )
doing business as ANIMATION SHARKS, )
and JOHN DOES l-lO, )
)

Defendants. )

COMPLAINT - CLASS ACTION
INTRODUCTION
l. Plaintiff Ralanda Webb brings this action to secure redress for the actions of

defendant Sprite Entertainment, Inc., doing business as Animation Sharks (“Sprite”) in sending
or causing the sending of unsolicited advertisements (such as Exhibit A) to telephone facsimile
machines in violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA”).
2. The TCPA expressly prohibits unsolicited faX advertising Unsolicited fax
advertising damages the recipients The recipient Wastes valuable time it Would have spent on
something else. Unsolicited faxes prevent fax machines from receiving and sending authorized
faXes, cause Wear and tear on faX machines, and require labor to attempt to identify the source
and purpose of the unsolicited faXes.
PARTIES

3. v Plaintiff Ralanda Webb is a resident of the Northern District of Illinois Where

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she maintains telephone facsimile equipment

4. Defendant Sprite Entertainment, Inc is a llawaii corporation With its principal
office is at 6701 Center Drive W, Suite 1100, Los Angeles, California 90045. Its registered agent
is Junichi Yanagihara at that address.

5. John Does l-lO are other natural or artificial persons that Were involved in the
sending of the facsimile advertisements described beloW. Plaintiff does not know Who they are.

JURISDICTION AND VENUE

6. This Court has jurisdiction under 28 U.S.C. §§1331 and 1367. Ml`ms v. Arrow
Financz`al Servz'ces, LLC, 132 S. Ct. 740, 751-53 (2012); Brill v. Countrywz`de Home Loans, Inc.,
427 F.3d 446 (7th Cir. 2005).

7. Personal jurisdiction exists under 735 lLCS 5/2-209, in that defendants:

a. Have committed tortious acts in Illinois by causing the transmission of

unlawful communications into the state.

b. Have transacted business in Illinois.
8. Venue in this District is proper for the same reason.
w
9. On September 6, 2017, plaintiff received the unsolicited fax advertisement
attached as EXhibit A.
lO. Discovery may reveal the transmission of additional faXes as Well.

ll. Defendant negligently or Wilfully violated the rights of plaintiff and other

recipients in sending the faxes.

12. Plaintiff had no prior relationship With defendant and had not authorized the

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sending of fax' advertisements to plaintiff

13. ` On information and belief, the faX attached hereto was sent as part of a mass
broadcasting of faxes.

14. The fax does not contain an “opt out” notice that complies with 47 U.S.C. §227.

15. The TCPA provides for affirmative defenses of consent or an established business
relationship. Both defenses are conditioned on the provision of an opt out notice that complies
with the TCPA. Holtzmcm v. Turza, 728 F.3d 682 (7‘h Cir. 2013); Nack v. Walburg, 715 F.3d 680
(8th Cir. 2013).

l6. On information and belief, defendant has transmitted similar unsolicited faX
advertisements to at least 40 other persons in Illinois.

17. There is no reasonable means for plaintiff or other recipients of defendant’s
unsolicited advertising faxes to avoid receiving illegal faXes.

COUNT I - TCPA

l8. Plaintiff incorporates 1111 l- l 7..

l9. The TCPA makes unlawful the “use of any telephone facsimile machine,
computer or other device to send an unsolicited advertisement to a telephone facsimile machine
...” 47 U.S.C. §227(b)(l)(C).

20. The TCPA, 47 U.S.C. §227(b)(3), provides:

Private right of action.

A person or entity may, if otherwise permitted by the laws or rules of court
of a State, bring in an appropriate court of that State-

(A) an action based on a violation of this subsection or the regulations
prescribed under this subsection to enjoin such violation,

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(B) an action to recover for actual monetary loss from such a
violation, or to receive 5500 in damages for each such violation,
whichever is greater, or
(C) both such actions.
If the Court finds that the defendant Willfully or knowingly violated this
subsection or the regulations prescribed under this subsection, the court
may, in its discretion, increase the amount of the award to an amount equal »

to not more than 3 times the amount available under the subparagraph (B) of
this paragraph.

21. Plaintiff and each class member suffered damages as a result of receipt of the
unsolicited faXes. Furthermore, plaintiff s statutory right of privacy Was invaded.

22. Plaintiff and each class member is entitled to statutory damages.

23. Defendants violated the TCPA even if their actions were only negligent.

24. Defendants should be enjoined from committing similar violations in the future.

CLASS ALLEGATIONS

25. Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of
a class, consisting of (a) all persons (b) who, on or after a date four years prior to the filing of this
action (28 U.S.C. §1658), (c) were sent faXes by defendant promoting its services (d) where
defendant does not have evidence of consent or an established business relationship prior to the
sending of the faxes.

- 26. The class is so numerous that joinder of all members is impractical Plaintiff

alleges on information and belief that there are more than 40 members of the class.

27. There are questions of law and fact common to the class that predominate over
any questions affecting only individual class members. The predominant common questions

include:

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a. Whether defendant engaged in a pattern of sending unsolicited fax
advertisements;

b. The manner in which defendants compiled or obtained the list of fax
numbers;

c. Whether defendants thereby violated the TCPA;

28. Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has
retained counsel experienced in handling class actions and claims involving unlawful business
practices. Neither plaintiff nor plaintiffs counsel have any interests which might cause them not
to vigorously pursue this action. l

29. Plaintiff s claims are typical of the claims of the class members. All are based on
the same factual and legal theories.

30. A class action is the superior method for the fair and efficient adjudication of this
controversy. The interest of class members in individually controlling the prosecution of
separate claims against defendants is small because it is not economically feasible to bring
individual actions.

31. Numerous courts have certified class actions under the TCPA. Ho_ltzman v.
Turza, No. 08 C 2014, 2009 WL 3334909 (N.D.Ill. Oct. 14, 2009), ajjf’a’ in part, rev’a' in part
vacated in part, 728 F.3d 682 (7th Cir. 2013); Ballara’ RN Center, Inc. v. Kohll’s Pharmacy and
Homecare, Inc. 2015 IL 118644, 48 N.E.3d 1060; American Copper & Brass, Inc. v. Lake Cin
Ina'us. Proa’ucts, Inc., 757 F.3d 540, 544 (6th Cir. 2014); In re Sandusky Wellness Center, LLC,
570 Fed.Appx. 43 7, 437 (6th Cir. 2014); Sandusky Wellness Center, LLC v. Medtox Scienrifz`c,

Inc., 821 F.3d 992, 998 (8th Cir. 2016); Saa’owski v. Mea'] Online, LLC, No. 07 C 2973, 2008

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WL 2224892 (N.D.Ill. May 27, 2008); CE Desz'gn Lta’. v. Cy’s Crabhouse North, Inc., 259 F.R.D.
135_(N.D.Ill. 2009); Targin Sign Systems, Inc. v. Preferred Chiropractic Center, Lta’., 679
F.Supp.2d 894 (N.D.Ill. 2010); Garrel‘t v. Ragle Denl‘al Laboratory, lnc., No. 10 C 1315, 2010
WL 4074379 (N.D.Ill. Oct. 12, 2010); Hz`nman v. M&MRental Center, Inc., 545 F.Supp.2d 802
(N.D.Ill. 2008); Clearbrook v. Rooflz'fters, LLC, No. 08 C 3276, 2010 U.S.Dist. LEXIS 72902
(N.D.lll. July 20, 2010) (Cox, M.J.); G.M Sign, Inc. v. Group C Communz`cations, Inc., No. 08-
cv-4521, 2010 WL 744262 (N.D.lll. Feb. 25, 2010); Kava, Inc. v. Omnipak Corp., 246 F.R.D.
642 (W.D.Wash. 2007); Display Soath, Inc. v. Express Compuz‘er Supply, Inc., 961 So.2d 451,
455 (La.App. 2007); Display South, Inc. v. Graphz'cs House Sporz‘s Promotions, Inc., 992 So.2d
510 (La.App. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok.App. 2006); ESI Ergonomic
Solutions, LLC v. UnitedArtists Theatre Circuit, Inc., 203 Ariz. 94, 50 P.3d 844 (2002); Core
Funa’ing Group, LLC v. Young, 792 N.E.2d 547 (lnd.App. 2003); Critchfz`eld Physical Therapy v.
l Taranto Group, Inc., 293 Kan. 285, 263 P.3d 767 (2011); Karen S. Little, L.L.C. v. Drury Inns,
Inc., 306 S.W.3d 577 (Mo.App. 2010); Lz'na’say Transmz'ssion, LLC v. ijz`ce'Depot, Inc., No.
4:12-CV-221_(CEJ), 2013 WL 275568 (E.D.Mo. Feb. 24, 2013).
32. Management of this class action is likely to present significantly fewer difficulties
that those presented in many class actions, e.g. for securities fraud.
WHEREFORE, plaintiff requests that the Court enter judgment in favor of plaintiff and

` the class and against defendant for:

a. Statutory damages;
b. An injunction against the further transmission of unsolicited fax
advertising;

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NOTICE OF LIEN AND ASSIGNMENT

Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount
as a court awards. All rights relating to attorney’s fees have been assigned to counsel.

, /s/ Daniel A. Edelman
Daniel A. Edelman

Daniel A. Edelman

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